           Case 1:19-vv-00402-UNJ Document 23 Filed 09/25/20 Page 1 of 2



                                               CORRECTED
              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 19-402V
                                   Filed: July 31, 2020

* * * * * * * * * * * * * * *
JOHN GOLD, on behalf of the *
Estate of NORMA ANN GOLD,                            *
                            *                              No. 19-402V
                            *
         Petitioner,        *                              Special Master Sanders
                            *
v.                          *
                            *                              Ruling on Entitlement; Influenza
SECRETARY OF HEALTH         *                              (“Flu”) Vaccine; Guillain-Barré
AND HUMAN SERVICES,         *                              Syndrome (“GBS”); Death.
                            *
         Respondent.        *
* * * * * * * * * * * * * * *
Daniel Pfeifer, Esq., Pfeifer, Morgan & Stesiak, Sound Bend, IN, for petitioner.
Colleen Hartley, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1
Sanders, Special Master:

        On March 15, 2019, John Gold (“Petitioner”), on behalf of the Estate of Norma Ann
Gold, filed a petition for compensation under the National Vaccine Injury Compensation
Program (“the Program”) 2 alleging that Ms. Gold received the influenza (“flu”) vaccination on
December 2, 2010, and thereafter suffered from Guillain-Barré Syndrome (“GBS”) and other
injuries leading to her death. See Petition at 1, ECF No. 1.


1
  Although this Ruling has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the
Ruling will be available to anyone with access to the internet. However, the parties may object to the
Ruling’s inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b),
each party has fourteen days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Ruling will be available to
the public. Id.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§
300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be
to 42 U.S.C. § 300aa of the Act.
         Case 1:19-vv-00402-UNJ Document 23 Filed 09/25/20 Page 2 of 2




        On January 8, 2020, Respondent filed a report pursuant to Vaccine Rule 4(c) stating that
“in the absence of a substantive medical review by the [Division of Injury Compensation
Programs] DICP and a recommendation regarding compensation – respondent’s current position
is that petitioner is not entitled to an award under the Act.” Resp’t’s Rpt. at 6, ECF No. 17.
Respondent indicated he would supplement his report as soon as medical personnel at DICP
reviewed the case. Id.

        On April 27, 2020, Respondent filed his amended report pursuant to Vaccine Rule 4(c)
stating that Petitioner’s claim was appropriate for compensation. Am. Resp’t’s Rpt. at 1, ECF
No. 18. Specifically, Respondent agrees with Petitioner’s claim that Ms. Gold suffered from the
Table injury of Guillain-Barré Syndrome and subsequent death following her receipt of the
influenza vaccine. Id. Based on a review of the medical records, Respondent found that “the
timing of the onset of Ms. Gold’s symptoms occurred within 3 to 42 days, and that Ms. Gold’s
records show that the sequela of her injury resulted in her death on March 15, 2011.” Id. at 5.
Therefore, Petitioner has satisfied all legal prerequisites for compensation under the Act. Id.

      A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of
Respondent’s concession and a review of the record, the I find that Petitioner is entitled to
compensation. This matter shall now proceed to the damages phase.

       Any questions regarding this order may be directed to my law clerk, Alyssa Murphy, at
Alyssa_murphy@cfc.uscourts.gov


       IT IS SO ORDERED.

                                                   s/Herbrina D. Sanders
                                                   Herbrina D. Sanders
                                                   Special Master




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